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                       IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF NEW MEXICO



DIAMOND BAR CATTLE COMPANY.
LANEY CATTLE COMPANY, KIT LANEY,
and SHERRY LANEY,

       Plaintiffs,

and                                                           Civil No. 96-437 WJ/LCS

NATIONAL WILDLIFE FEDERATION; GILA
WATCH; NEW MEXICO WILDLIFE FEDERATION;
RIO GRANDE CHAPTER OF TROUT UNLIMITED;
WILDERNESS WATCH; and CENTER FOR
BIOLOGICAL DIVERSITY,

       Intervenors,

v.

UNITED STATES OF AMERICA,
ANN VENEMAN, Secretary of the United
States Department of Agriculture, and U.S.D.A.
Forest Service,

       Defendants.

                 PARTIAL JUDGMENT ON DAMAGES AND RETENTION
                 OF JURISDICTION TO DETERMINE FINAL DAMAGES

       THIS MATTER came on for hearing before the Court, Honorable William P. Johnson

presiding, and the issues having been duly heard and a decision having been duly rendered,

       IT IS ORDERED AND ADJUDGED that the Defendant United States recover of the

Plaintiffs, Diamond Bar Cattle Company, Laney Cattle Company, Kit Laney and Sherry Laney,

jointly and severally the sum of $63,639.65, with interest thereon at the rate of 1.28 percent as

provided by law.
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       IT IS FURTHER ORDERED AND ADJUDGED that this Court specifically retains

jurisdiction to determine damages for unauthorized grazing from February 1, 2004 through the

date of the final judgment, to determine resource damages and to render a judgment for costs.



                                                    _________________________________
                                                    UNITED STATES DISTRICT JUDGE




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